       Case 15-20124            Doc 13-1 Filed 06/02/15 Entered 06/02/15 16:12:03                               Desc Disch
                                  Indiv Ch7/11: Notice Recipients Page 1 of 1
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Marcy A Kamin−Crane           9 Acorn Lane         Cumberland Center, ME 04021
smg         State of Maine       Bureau of Revenue Services         Compliance Division Bankruptcy Unit         P.O. Box
            1060        Augusta, ME 04332
1994105     Atlantic Regional Fed       55 Cushing St         Brunswick, ME 04011
1994106     Bk Of Amer         Po Box 982235         El Paso, TX 79998
1994107     Chase Card        P.o. Box 15298        Wilmington, DE 19850
1994108     Cport Credit Union        50 Riverside Ind P       Portland, ME 04103
1994109     Dermpath New England LLC            Lockbox 1842         P.O. Box 8500         Philadelphia, PA 19178−1842
1994110     Electricity Maine LLC        c/o Law Office of Carl R. Trynor        PO Box 4290         Portland, ME 04101
1994111     FACTS Tuition Management            PO Box 82527          Suite 301       Lincoln, NE 68501−2527
1994112     FIA Card Services        P.O. Box 15026        Wilmington, DE 19850−5026
1994113     First Premier Bank       3820 N Louise Ave          Sioux Falls, SD 57107
1994114     Law Offices Howard Lee Schiff, P.C.         1321 Washington Avenue           Portland, ME 04103
1994115     Maine Orthotic &Prosthetic Rehab Serv         300 Park Ave.         Portland, ME 04102
1994116     Mercy Hospital        P.O. Box 10780         Portland, ME 04104
1994117     Portfolio Recovery       120 Corporate Blvd Ste 1         Norfolk, VA 23502
1994118     Portfolio Recovery       Attn: Bankruptcy         Po Box 41067         Norfolk, VA 23541
1994119     Revenue Group         3700 Park East Dr.       Suite 240         Beachwood, OH 44122
1994120     Spurwink Services        899 Riverside Street       Portland, ME 04103
1994121     The Thomas Agency Inc          207 Larrabee Rd S−6          Westbrook, ME 04092
1994122     The Thomas Agency Inc          P.O. Box 6759         Portland, ME 04103
1994123     Verizon Wireless Bankruptcy Admin          500 Technology Drive          Suite 550       Weldon Spring, MO
            63304
1994124     Wells Fargo Home Mortgage          P.O. Box 10335          Des Moines, IA 50306
                                                                                                                   TOTAL: 22
